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                UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                       Appeal No.: 21-13469-GG
                    LT Case No.: 0:20-cv-60666-AHS

JESSICA GRAVES,
     Appellant,

v.

BRANDSTAR STUDIOS, INC.,
     Appellee.
____________________________


              APPEAL FROM THE DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA




                    APPELLANT’S INITIAL BRIEF




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             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Appellant Jessica Graves, certifies, in accordance with Federal Rules of

Appellate Procedure and the accompanying circuit rules, that the following persons

and corporate entities may have an interest in the outcome of this action:

                    Interested Persons & Corporate Entities

   1. Alfieri, Mark, CEO of Appellee

   2. Brandstar Studios, Inc., Appellee

   3. Cornell & Associates, P.A., Counsel for Appellant

   4. Cornell, Jr., G. Ware, Counsel for Appellant

   5. Graves, Jessica, Appellant

   6. Richard D. Tuschman, P.A., Counsel for Appellee

   7. Tuschman, Richard D., Counsel for Appellee

   8. Singhal, Hon. Raag, United States District Judge




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellant, Jessica Graves, requests oral argument to assist the Court in

understanding why the district court erred in granting summary judgment on the

Family and Medical Leave Act claim and the Americans with Disabilities Act claim

for associational discrimination.




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                       JURISDICTIONAL STATEMENT


      This is an appeal arising from a decision of a United States District Court that

is within the jurisdiction of the Eleventh Circuit Court of Appeals. Jurisdiction of

this Court is conferred by 28 U.S.C. §1291, granting jurisdiction to the Court of

Appeals over final decisions of the district courts. The Final Judgment in favor of

Defendant is a final decision within the contemplation of this section.




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                 STATEMENT OF THE ISSUES ON APPEAL

                                           I
Did the District Court misconstrue or misapply the provisions of the Family and
Medical Leave Act by finding that the Appellant was not entitled to the provisions
of the Family and Medical Leave Act relating to unforeseen medical leave when her
father required emergency brain surgery?


                                         II
Did the District Court misconstrue or misapply the provisions of the Americans with
Disabilities Act by failing to credit the inferences inherent in Appellant’s plans to
move her disabled father into her home in Florida from Pennsylvania?


                                         III
Did the District Court improperly weigh evidence and fail to follow controlling
Supreme Court precedent?




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                          STATEMENT OF THE CASE

                   Course of Proceedings and Disposition Below

      Jessica Graves, formerly a producer at Brandstar Studios, Inc., filed her

Complaint against Appellee on March 30, 2020 {Doc. 1}. Following a substitution

of the party defendant because of a corporate misnomer, an Amended Complaint was

filed May 6, 2020 {Doc. 8} against Brandstar Studios, Inc. and was answered on

May 20, 2020 {Doc. 11}.

      Thereafter, the parties engaged in mutual discovery. After the close of

discovery, Appellee moved for summary judgment {Doc. 21}. Appellant responded

in opposition on January 11, 2021 {Doc. 25}. Appellee then replied on January 19,

2021 {Doc. 29}.

      On April 7, 2021, Appellant filed a Notice of Supplemental Authority {Doc.

35} and sought leave to file additional briefing in view of the decision of this Court

the previous day in Ramji v. Hospital Housekeeping Sys., LLC, 992 F.3d 1233 (11th

Cir. 2021). The Appellee opposed the request for supplemental briefing {Doc. 37},

but, on July 6, 2021, the trial judge entered a paperless order granting Appellant’s

motion {Doc. 40}.

      Thereafter, both parties briefed the applicability of Ramji {Doc. 42 & 43}.

      Thereafter, the District Court granted summary judgment on September 17,

2021 {Doc. 44}. Final judgment was entered that same day {Doc. 45}.

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        On October 11, 2021, Appellant filed her timely Notice of Appeal {Doc.

48}.

                                   Statement of Facts

        Jessica Graves was an employee who became FMLA eligible on January 9,

2018 and remained so until her termination on May 30, 2018. As an employee, dur-

ing the whole course of her employment, she was protected under the Americans

with Disabilities Act, which expressly prohibits “associational discrimination”,

which is to say discrimination against her on account of her relationship and existing

and prospective obligations of care to a person with a disability.

        The disabled person was her father who was “couch ridden” and under medi-

cal and nursing care in Pennsylvania. As Graves recounted in her Declaration under

Penalty of Perjury, filed in opposition to the Appellee’s Motion for Summary Judg-

ment:

        3. I have been asked to describe his condition beginning in January, 2018,
        following one year of employment at Brandstar up until the time I was
        terminated in late May, 2018.
        4. During this period of time my father lived in Pennsylvania where all his
        doctors were located.
        5. He had a feeding tube and underwent chemotherapy and radiation on a reg-
        ular basis. He had previously lost part of a lung. He was unable to lay on bed
        in the house and slept, as best he could, on a couch and the recliner chair. Due
        to his illness and treatment he lost a tremendous amount of weight.
        {Doc 25-2, pg. 1}

        As a daughter, Graves was in fact his primary caregiver and devoted a signif-

icant amount of time each day to his physical and emotional care:
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        6. I was his primary caregiver, although like many caregivers in today's pan-
        demic world I had to function remotely.
        7. On any given day, I would speak to my father several times a day providing
        emotional support, speak with home health aides about issues or concerns that
        would arise on a daily basis, speak with doctors' offices to make appointments
        or go over clinical findings. Thus I would spend at least three hours per day
        on caring for my father, while being a mother for two children.
        {Doc. 25-2, pg. 1}

        Graves learned that her father required emergency surgery for a brain tumor

on May 2, 2018. She immediately notified her management that she was traveling

to Pennsylvania because of her father’s need for emergency brain surgery, leaving

the next day {Doc 25-2, pg. 1}.

        Four days later, Graves sent an email to Mark Alfieri, Brandstar’s Chief Ex-

ecutive Officer, pitching a show regarding the makeover of her garage to

accommodate the needs of a disabled veteran - her father. Defendant’s Statement of

Material Facts {Doc. 22-2, pg. 49}.

        From: Jessica Bianco1
        Sent: Sunday, May 06, 2018 7:41 AM
        To : Mark Alfieri <Mark@BrandStar.com>
        Subject: My Dad

        Hi Mark, l just got back from PA where my dad was having emergency brain
        surgery for a tumor. The aggressive throat cancer that he just finally recovered
        from last year has metastasized and formed two tumors in his brain. This re-
        cent surgery was only able to remove one. the other will need to be treated
        with radiation and intense chemo and soon.

        My dad is a Vietnam Vet who was affected by Agent Orange: He spent his
        entire career working in the probation and parole system, since retiring he has

1
    Graves was previously known by the name of her ex-husband Bianco.
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      lived alone in Western PA. He's the kindest. strongest and most stubborn man
      I've ever known and he's my best friend.

      Fortunately, I was able to convince him to let me find the best oncologists and
      radiologists in South Florida for this next and hopefully final round of treat-
      ment, but I will need to move him down here asap. Since the last treatment
      resulted in pneumonia which required a portion of his lung to be removed and
      feeding tube chest port to be put in. He nearly died twice.

      The reason I'm telling you this is because I'm hoping you can help.

      I have a 2-car garage that I need to convert into a studio apartment and I know
      that between Ryan/Russ/Edwin/Vince they could knock this out in a few days.

      l am hoping you'll see the beneﬁt in allowing them a few days to do this within
      the next couple weeks since we can also turn this into a local Military Make-
      over UFP. There are a few companies I can reach out to for materials to help,
      but l am prepared to pay for everything myself, including labor. All l need
      from you ls permission to ‘borrow ’the guys.

      I’m around if you want to give me a call otherwise we can discuss Monday.
      I'm going to be driving him and his beloved dog down to FL once he's released
      from rehab to begin treatments.

      Thanks and talk soon, Jess 646. {Redacted}

      Defendant’s Statement of Material Facts {Doc. 22-2, pg. 48}

      Twenty-four days later Graves was fired.

                                Standard of Review

      A district court’s grant of summary judgment is reviewed de novo. In Re

Johannessen, 76 F.3d 347, 349 (11th Cir. 1996).




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                           SUMMARY OF ARGUMENT

        The district court erred in the consideration of Appellant’s Family and Medical

Leave Act2 claim when it held her notification to her employer of the metastasis of

her father’s lung cancer to his brain, necessitating emergency brain surgery in early

May, 2018 was foreseeable and that her claim failed because she had not given

notice. It also erred when it excused the Appellee from the requirements of

“eligibility” notice under 29 C.F.R. § 825.300(b)(1), and the “rights and

responsibilities” notice under 29 C.F.R. § 825.300(c), which must be provided to the

employee at the same time as the eligibility notice.

        The decision of the court below of Appellant’s claim under the Americans with

Disabilities Act of 1990, 42 U.S.C. § 12111–12117 for “associational discrimination

was likewise infused with error. However, the pendent state claim for associational

discrimination under the Florida Civil Rights Act of 1992, §§ 760.01 et seq, Florida

Statutes is withdrawn in light of this Court’s recent holding in Matamoros v.

Broward Sheriff's Office, 2 F.4th 1329 (11th Cir. 2021).

        Finally, despite the District Court’s responsibilities under Rule 56 as set forth

in Tolan v. Cotton, 134 S.Ct. 1861 (2014), the District Judge proceeded to weigh

evidence and overlooked its mandate to resolve all inferences and conflicts in the

evidence in favor of the non-moving party.


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    Family and Medical Leave Act of 1993, 29 U.S.C. §§ 2601–2654 (2006)
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                                    ARGUMENT

                                           I.

                      The District Court misapplied the FMLA

      The FMLA requires employers to provide eligible employees with several

types of notice of their rights under the Act. Two types of notices are relevant in this

case. The first is “eligibility” notice under 29 C.F.R. § 825.300(b)(1), which requires

that “[w]hen an employee requests FMLA leave, or when the employer acquires

knowledge that an employee's leave may be for an FMLA qualifying reason, the

employer must notify the employee of the employee's eligibility to take FMLA leave

within five business days, absent extenuating circumstances.” The second type is

“rights and responsibilities” notice under 29 C.F.R. § 825.300(c), which must be

provided at the same time as the eligibility notice. This notice must inform the

employee, among other things, (1) “[t]hat the leave may be designated and counted

*30 against the employee's annual FMLA leave entitlement ... and the applicable 12-

month period for FMLA entitlement,” (2) “the employee's right to substitute paid

leave ...,” and (3) “the employee's rights to maintenance of benefits during the FMLA

leave and restoration to the same or equivalent job upon return from FMLA leave.”

29 C.F.R. § 825.300(c)(i), (iii), and (vi). Under 29 C.F.R. § 825.300(e), “[f]ailure to

follow the notice requirements ... may constitute an interference with, restraint, or

denial of the exercise of an employee's FMLA rights.”

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      An employee whose parent is suffering from a serious health condition must

give her employer notice of her need for FMLA leave and, therefore, can state an

interference claim only if she gave sufficient notice. White 789 F.3d at 1195. Notice

of the need for FMLA leave must satisfy two criteria’s - timing and content.

      With regard to timing, where the need for leave is unforeseeable, as is the case

here, the employee must give notice as soon as practicable. See 29 C.F.R. §

825.303(a). With regard to content, “[a]n employee shall provide sufficient

information for an employer to reasonably determine whether the FMLA may apply

to the leave request. Depending on the situation, such information may include that

a condition renders the employee unable to perform the functions of the job ....” 29

C.F.R. § 825.303(b). Moreover, “[w]hen an employee seeks leave for the first time

for a FMLA-qualifying reason, the employee need not expressly assert rights under

the FMLA or even mention the FMLA.” Id.

      The record facts of this case demonstrate that Ms. Graves provided Brandstar

with timely and sufficient notice of her need for FMLA leave. She sent an e-mail

entitled “Family Emergency” on May 2, 2018, to Jennifer Giordano, Arash Farsi,

Cindy Roussin, and Aharon Bettan, her immediate supervisor. It read:

      Hi guys, I'm planning to ﬂy out to sec my dad in PA tomorrow morning. My
      dad in ICU. I will not be available for calls/edits. Thank you in advance for
      making any adjustments to my schedule.
      {Doc. 22-2, pg. 47}

      Four days later, on May 6, 2018, Graves e-mailed the CEO Mark Alfieri
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reporting on her emergency trip to see her father who had undergone emergency

brain surgery. In that email Graves revealed her plan to bring her father to South

Florida and her need to provide continuous care {Doc 22-2, Tab 37}.

      Thus, the record facts demonstrate that Appellant provided timely and

sufficient notice of her need for FMLA leave and notice of her rights.

      As stated above, the “eligibility” notice and “rights and responsibilities”

notice required under 29 C.F.R. § 825.300(b) and (c) must be provided to the

employee “within five business days, absent extenuating circumstances.” No such

notice was ever provided.

      The District Court further overlooked this Court’s recent opinion in Ramji v.

Hosp. Housekeeping Sys., LLC, 992 F.3d 1233 (11th Cir. 2021) wherein you held in

a published opinion:


               When an employer acquires knowledge that an employee's leave may
              be for an FMLA-qualifying reason, that triggers the employer's
              obligation to evaluate whether the employee's requested absence in
              fact qualifies for FMLA protection. See Cruz v. Publix Super Mkts.,
              Inc., 428 F.3d 1379, 1383 (11th Cir. 2005). The employer must also
              provide notice to the employee of her eligibility for and rights under
              the FMLA within a certain timeframe. See 29 C.F.R. § 825.300. A
              “[f]ailure to follow the notice requirements ... may constitute an
              interference with, restraint, or denial of the exercise of an employee's
              FMLA rights.” Id. § 825.300(e).

              Ramji v. Hosp. Housekeeping Sys., LLC, 992 F.3d 1233, 1243 (11th
              Cir. 2021)


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      Shockingly, Ramji, id, was decided after the motion for summary judgment

was submitted. Upon its rendition, Appellant sought and obtained, over objection

leave, to submit supplemental authority. However, despite the parallels to the case

under review, the District Judge never addressed this controlling authority

concluding:

                Here, the need was foreseeable. All parties involved were aware of
                Plaintiff's father's illness. It is uncontroverted that Plaintiff failed to
                make any request for FMLA, either formally through Human
                Resources as required by the Defendant's Associate Handbook (DE
                [22-2]) or informally through communications with her supervisors
                about her schedule. Plaintiff's request to work on Designing Spaces
                and to be excused from work-related travel was not a request for
                FMLA leave. Additionally, Plaintiff fails to sufficiently allege that
                any such request was denied. To the contrary, Plaintiff admits that
                on numerous occasions Defendant accommodated her schedule
                even when unrelated to her father's illness. Instead, Plaintiff alleges
                Defendant failed to advise Plaintiff of her rights under FMLA. This
                is directly contradicted by the evidence on record, the signed
                Acknowledgement of Receipt of Associate Handbook and
                Acknowledgement of Receipt of the Safety and Health Policy, dated
                January 12, 2017, the day after Plaintiff was hired. Defendant's
                Associate Handbook (DE [22-2]) requires employees to complete
                two forms provided by Human Resources when the employee
                requests FMLA leave, which must be completed within fifteen
                calendar days. These facts, when viewed in the light most favorable
                to Plaintiff, indicate Plaintiff did not provide the requisite notice to
                Defendant of her need for FMLA leave.
                {Doc 44, pg. 12}


      The conclusion that the need for leave was foreseeable is further undercut by

another recently published opinion:

              Ms. Munoz says her need for leave was unforeseeable because she
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              suffers from “a chronic health condition causing flareups.” Appellant's
              Br. at 24. Because her flareups were unforeseeable, she says, she did
              not need to notify Selig of the timing or duration of her leave. She is
              right. Our Court has recognized that employees with health conditions
              who experience a sudden, acute flareup can demonstrate an
              unforeseeable need for FMLA leave. See, e.g., White, 789 F.3d at
              1196–97 (holding an employee with a preexisting knee injury had an
              unforeseeable need for leave when the knee suddenly gave out and
              required surgery); Strickland v. Water Works & Sewer Bd. of
              Birmingham, 239 F.3d 1199, 1209 (11th Cir. 2001) (holding that an
              employee with diabetes had an unforeseeable need for leave when he
              “suffer[ed] a debilitating diabetic attack”). Ms. Munoz introduced
              evidence her endometriosis and uterine fibroids sometimes caused
              pain so severe she couldn't move. She also testified she told both Mr.
              Saine and Mr. Walker of her diagnoses, need for medical treatment,
              and need for occasional leave to be tardy or absent. The record shows
              she emailed Mr. Saine and Mr. Walker on specific days she would be
              absent or late to work because of health issues. Like the plaintiffs in
              White and Strickland, Ms. Munoz had an unforeseeable need for
              FMLA leave. Her actions therefore sufficiently notified Selig of her
              need for FMLA leave, and her conduct was protected under the
              FMLA.

            Munoz v. Selig Enterprises, Inc., 981 F.3d 1265, 1276–77 (11th Cir.
            2020)
      Because her father’s emergency operation for a brain tumor was

unforeseeable and because the undisputed evidence was that Appellant was never

given her notices of “eligibility” and “rights and responsibilities”, summary

judgment as to the FMLA was in error.

      As stated, Appellant filed a Declaration Under Penalty of Perjury describing

her communications with her employer which clearly constituted a FMLA qualifying

event. In it she declared:


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            10.Obviously if my father were physically present in my house I would
            be providing future and perhaps more extensive caregiving. Indeed
            when he did move in I was even more involved with his care.
            11. I was never informed by anyone at Brandstar that I was eligible
            for FMLA to care for my father remotely or in-person.
            {Doc. 25-5, pg. 2}

      Appellant’s Declaration was entitled to be accepted as true and all inferences

should have been resolved against Appellee and in favor of Appellant. That is not

what happened. Instead, the District Court opined:

                Here, the need was foreseeable. All parties involved were aware of
                Plaintiff's father's illness. It is uncontroverted that Plaintiff failed to
                make any request for FMLA, either formally through Human
                Resources as required by the Defendant's Associate Handbook (DE
                [22-2]) or informally through communications with her supervisors
                about her schedule. Plaintiff's request to work on Designing Spaces
                and to be excused from work-related travel was not a request for
                FMLA leave. Additionally, Plaintiff fails to sufficiently allege that
                any such request was denied. To the contrary, Plaintiff admits that
                on numerous occasions Defendant accommodated her schedule
                even when unrelated to her father's illness. Instead, Plaintiff alleges
                Defendant failed to advise Plaintiff of her rights under FMLA. This
                is directly contradicted by the evidence on record, the signed
                Acknowledgement of Receipt of Associate Handbook and
                Acknowledgement of Receipt of the Safety and Health Policy, dated
                January 12, 2017, the day after Plaintiff was hired. Defendant's
                Associate Handbook (DE [22-2]) requires employees to complete
                two forms provided by Human Resources when the employee
                requests FMLA leave, which must be completed within fifteen
                calendar days. These facts, when viewed in the light most favorable
                to Plaintiff, indicate Plaintiff did not provide the requisite notice to
                Defendant of her need for FMLA leave.
                {Doc. 44, pg. 12}


      Applying the logic of the District Court’s order to the Munoz case, that

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Plaintiff would never be entitled to relief for FMLA interference since “all parties

were aware of [her] illness”. The District Judge essentially adopted a standard which

requires thirty days’ notice of any onset of related illness, no matter how sudden,

how acute, or how severe. This construction judicially rewrites the FMLA statute

and regulations. As Judge Lazzara of the Middle District noted:

                 The regulations differentiate between foreseeable and unforeseeable
                 serious medical conditions, with a foreseeable condition involving
                 planned medical treatment. Crawford v. City of Tampa, 8:08-CV-927-
                 T-26EAJ, 2011 WL 940305, at *3 (M.D. Fla. Mar. 17, 2011), aff'd, 464
                 Fed. Appx. 856 (11th Cir. 2012)


                                            II.

              The District Court erred in the consideration of the ADA claim

       The District Court erroneously concluded that the fact that the Appellant’s

terminally ill father resided in Pennsylvania precluded her from presenting a prima

facie of disability discrimination. That was error as was the alternative holding that

she had not established her burden under McDonnell Douglas v. Green to show that

the preferred explanation that she was fired for reasons unrelated to her father’s

disability.

                The ADA also defines the term “discriminate” to include, among other
                factors, “excluding or otherwise denying equal jobs or benefits to a
                qualified individual because of the known disability of an individual
                with whom the qualified individual is known to have a relationship or
                association.” 42 U.S.C. § 12112(b)(4). In order to establish a prima fa-
                cie case under this “association discrimination” theory, Hilburn must
                establish the following elements: (1) she was subjected to an adverse
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              employment action, (2) she was qualified for the job at that time, (3)
              she was known by Murata at the time to have a relative with a disability,
              and (4) the adverse employment action occurred under circumstances
              which raised a reasonable inference that the disability of the relative
              was a determining factor in Murata's decision. Hartog v. Wasatch Acad-
              emy, 129 F.3d 1076, 1085 (10th Cir.1997).

              Hilburn v. Murata Elecs. N. Am., Inc., 181 F.3d 1220, 1230–31 (11th
              Cir. 1999)

        Neither the statute nor any decisional law has ever required that a caregiver

be physically present with her parent. As can be seen from Hilburn, it is simply not

a factor.

        Even though her father was over a thousand miles away, Graves recounted in

her Declaration her daily responsibilities for care of her father from afar:

        6. I was his primary caregiver, although like many caregivers in today's pan-
        demic world I had to function remotely.
        7. On any given day, I would speak to my father several times a day providing
        emotional support, speak with home health aides about issues or concerns that
        would arise on a daily basis, speak with doctors' offices to make appointments
        or go over clinical findings. Thus I would spend at least three hours per day
        on caring for my father, while being a mother for two children.
        {Doc. 25-2, pg. 2}

        The alternative McDonnell Douglas holding is also in error. As this Court has

held:

              However, establishing the elements of the McDonnell Douglas frame-
              work is not, and never was intended to be, the sine qua non for a plain-
              tiff to survive a summary judgment motion in an employment discrim-
              ination case. … See Holifield v. Reno, 115 F.3d 1555, 1562 (11th
              Cir.1997) (declaring that, in cases where a plaintiff cannot establish a
              prima facie case, summary judgment only will be “appropriate where
              no other evidence of discrimination is present.” (citations omitted));
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             Silverman v. Bd. of Educ., 637 F.3d 729, 733 (7th Cir.2011) (“To avoid
             summary judgment ... the plaintiff must produce sufficient evidence,
             either direct or circumstantial, to create a triable question of intentional
             discrimination in the employer's decision.”). A triable issue of fact ex-
             ists if the record, viewed in a light most favorable to the plaintiff, pre-
             sents “a convincing mosaic of circumstantial evidence that would allow
             a jury to infer[25] intentional discrimination by the decisionmaker.”
             Silverman, 637 F.3d at 734 (citations and internal quotation marks
             omitted); see also James v. N.Y. Racing Ass'n, 233 F.3d 149, 157 (2d
             Cir.2000) (“[T]he way to tell whether a plaintiff's case is sufficient to
             sustain a verdict is to analyze the particular evidence to determine
             whether it reasonably supports an inference of the facts plaintiff must
             prove—particularly discrimination.”).

             Smith v. Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th Cir 2011)

      As this brief has shown, in her May 6th email to the CEO, Appellant

announced her plans to move her father to South Florida. Her termination followed

twenty-three days later, a period in the context of retaliation would be called

“temporal proximity.” That same proximity, which is good enough to infer

causation, likewise infers discriminatory animus and the jury should have been

allowed to determine this issue.

                                          III.

                The District Court impermissibly weighed evidence

      The District Court acknowledged within the order granting summary

judgment, the rules of decision governing Rule 56 motions {Doc. 44, pg. 5-6}

However, despite the recitation of these standards and specifically of Tolan v. Cotton,

134 S.Ct. 1861 (2014), throughout the order granting summary judgment, the

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District Court below construed inferences derived from facts in favor of Appellee

and against Appellant.

      For instance, rather than accepting Appellant’s sworn declaration that “I was

never informed by anyone at Brandstar that I was eligible for FMLA to care for my

father remotely or in-person” {Doc. 25-5, pg. 2} the District Court stated:

      Instead, Plaintiff alleges Defendant failed to advise Plaintiff of her rights
      under FMLA. This is directly contradicted by the evidence on record, the
      signed Acknowledgement of Receipt of Associate Handbook and
      Acknowledgement of Receipt of the Safety and Health Policy, dated January
      12, 2017, the day after Plaintiff was hired. Defendant's Associate Handbook
      (DE [22-2]) requires employees to complete two forms provided by Human
      Resources when the employee requests FMLA leave, which must be
      completed within fifteen calendar days. (Doc 44, pg 4)

      Likewise, the trial court somewhat sarcastically discredited the Plaintiff’s

evidence that she had traveled to attend to her father’s emergency surgery and had

attempted to claim PTO time for the two days she was out:

        During this visit, Plaintiff claims she did not work on May 3 or 4, 2018,
        however, she “accidentally” clocked in on those days because she had
        problems using the timekeeping application on her phone. Plaintiff did not
        correct her error until May 14, 2018, when Bettan instructed her to submit
        her time for May 3 and 4 as paid time off (“PTO”).3
        {Doc 44, pg. 4}

      In the impermissible weighing of the evidence, the District Judge contradicted

the mandate of Tolan v. Cotton:

        Considered together, these facts lead to the inescapable conclusion that the

3
 This discrediting of Graves’ evidence was essentially uninvited as the defendant
below had never suggested that Graves had not traveled to Pennsylvania.
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          court below credited the evidence of the party seeking summary judgment
          and failed properly to acknowledge key evidence offered by the party
          opposing that motion…

          The witnesses on both sides come to this case with their own perceptions,
          recollections, and even potential biases. It is in part for that reason that
          genuine disputes are generally resolved by juries in our adversarial system.
          By weighing the evidence and reaching factual inferences contrary to
          Tolan's competent evidence, the court below neglected to adhere to the
          fundamental principle that at the summary judgment stage, reasonable
          inferences should be drawn in favor of the nonmoving party.

          Tolan v. Cotton, 572 U.S. 650, 659–60 (2014)


                                  CONCLUSION

       This Court should reverse the District Court with instructions to set this case

for jury trial.

DATED DECEMBER 13, 2021

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           CERTIFICATE OF COMPLIANCE WITH RULE 32(a)


This brief complies with the type-volume limitation of Fed. R. App. P. 32(a)

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                         CERTIFICATE OF SERVICE


I certify that on December 13, 2021, I served a copy of this brief via Federal

Express Next Day to the Clerk of this Court and to counsel for the Appellee,



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